                                                EQUITY OPTION AGREEMENT

                  THIS EQUITY OPTION AGREEMENT (this "Agreement"), dated as of April 16,
            2012 (the "Effective Date"), is entered into by and between PRIME METROLINE
            TRANSIT CORP., a corporation organized and existing under the laws of the Republic
            of the Philtppines ("Grantor"), BLOOMBERRY RESORTS CORPORATION, a
            corporation organized and existing under the laws of the Republic of the Philippines
            ("BRC"), and GLOBAL GAMING PHILIPPINES LLC, a limited liability company
            organized and existing under the laws of the State of Delaware, U.S.A. ("Grantee").

                                                       RECITALS

                   WHEREAS, Grantor owns 7,325,656,500 shares in the outstanding capital stock,
            par value One Philippine Peso per share, of BRC, a publicly-listed corporation
            organized and existing under the laws of the Republic of the Philippines with an address
            at Unit 601 6th Floor Ecoplaza, Chino Roces Avenue Extension, Makati City, Philippines;

                   WHEREAS, BRC owns one hundred percent (100%) of the issued and
            outstanding shares of stock of Sureste Properties Inc. ("Sureste"), a corporation
            organized and existing under the laws of the Republic of the Philippines with an address
            at 26th Floor, 139 Corporate Center Building, Valero Street, Salcedo Village, Makati
            City, Philippines;

                   WHEREAS, Sureste owns one hundred percent (100%) of the issued and
            outstanding shares of stock of Bloomberry Resorts and Hotels Inc. (formerly known as
            "Bloombury Investment Holdings, Inc.") ("Bloomberry"), a corporation organized and
            existing under the laws of the Republic of the Philippines with an address at Unit 601,
            6th Floor Ecoplaza Building, Pasong Tamo Extension, Makati City, Philippines; and

                   WHEREAS, Sureste and Bloomberry, as Owners, have agreed under the
            Management Services Agreement dated September 9, 2011 and entered into by and
            among the Sureste, Bloomberry, and Grantee {the "MSA"), to grant or cause to be
            granted to Grantee, an option to purchase the Option Shares (as defined below), which
            option shall be exercisable solely in accordance with and pursuant to the terms and
            conditions set forth herein.

                    NOW, THEREFORE, the parties hereto agree as follows:

                                                       ARTICLE I.

                                         DEFINITIONS AND INTERPRETATION

                  Section 1.1 Definitions.    For all purposes of this Agreement, except as
            otherwise expressly provided or unless the context clearly requires otherwise:

                   "Action" means any written action, appeal, petition, plea, charge, complaint,
            claim, suit, demand, dispute, grievance, notice, litigation, arbitration, mediation, hearing,



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Subject to Arbitration Confidentiality Orders                                                     BLOOM_0082033
